  Case 08-20546         Doc 364       Filed 10/22/13 Entered 10/22/13 10:41:42   Desc Main
                                       Document     Page 1 of 4




Elizabeth Rose Loveridge #6025
David A. Nil! #8784
WOODBURY & KESLER, P.C.
525 East 100 South, Suite 300
P. 0. Box 3358
Salt Lake City, Utah 841 !0-3358
Telephone: (801) 364-1100

Attorneys for Chapter 7 Trustee
                IN THE UNITED STATES BANKRUPTCY COURT FOR TIlE
                                DISTRICT OF UTAH, CENTRAL DIVISION

 In re:
                                                         Bankruptcy No. 08-20546 JAB
          KENNETH C. TEBBS                               Chapter 7

                   Debtor(s).

 ELIZABETH R. LOVERIDGE, CHAPTER
 7 TRUSTEE,                                               Adversary Proceeding No.
                                                                  10-2!08
          Plaintiff,

 HSBC FINANCE CORPORATION, FDBA
 HOUSEHOLD FINANCE CORPORATION
 AND FDBA BENEFICIAL FINANCE
 CORPORATION

          Defendant.


                                 AFFIDAVIT OF ALLEN R. PERL

STATE OF ILLINOIS                        )
                                         ) ss.:
COUNTY OF COOK                    )

          Allen R. Pen, being sworn, states:
  Case 08-20546          Doc 364     Filed 10/22/13 Entered 10/22/13 10:41:42            Desc Main
                                      Document     Page 2 of 4




       1.      I am an attorney at law practicing in the State of illinois and a member of Pen &

Goodsnyder, Ltd (“Pen & Goodsnyder”), which is located at 14 North Peoria Street, Suite 2-C,

Chicago, IL 60607-2644.

       2.      I submit this Affidavit on behalf of Perl & Goodsnyder in support of the motion to

authorize its employment as special counsel to Elizabeth R. Loveridge, Chapter 7 Trustee (the

“Trustee”).

       3.      The Trustee has requested special counsel to renew and collect a judgment against

HSBC Finance Corporation. (the “Judgment”). The judgment debtor is in illinois. Perl &

Goodsnyder is willing to accept employment on the basis set forth in the application.

       4.      Pen & Goodsnyder has extensive and diverse experience and knowledge in

representing Chapter 7 Trustees, including, collecting judgments and is well qualified to

represent the Trustee.

       5.      The following services are or will be required from Perl & Goodsnyder:

               a.        to advise and consult with the Trustee concerning questions arising in
                         connection with the collection of the Judgment;

               b.        to appear for, prosecute, defend and represent the Trustee’s interest in
                         illinois as necessary; and

               c.        to assist in the preparation of such pleadings, notices and orders as may be
                         required to collect the Judgment.

       6.      I have advised the Trustee that Perl & Goodsnyder is willing to serve as special

counsel in these proceedings and to accept compensation for professional services rendered and

expenses incurred in accordance with Sections 328, 330 and 331 of the Bankruptcy Code. Perl
  Case 08-20546        Doc 364      Filed 10/22/13 Entered 10/22/13 10:41:42              Desc Main
                                     Document     Page 3 of 4




& Goodsnyder intends to bill for its legal services in the case in accordance with its usual

practice, which is a contingent fee of 33% of the amount collected, plus costs.

       7.      Perl & Goodsnyder understands that its compensation is subject to further order of

the Court and will apply to the Court for compensation upon appropriate notice and hearing.

       8.      No promises have been received by Perl & Goodsnyder, or any member or

associate of the firm, as to the compensation in connection with this case. Perl & Goodsnyder

has no agreement with any other entity to share any compensation received by the firm in

connection with this case.

       9.      Perl & Goodsnyder and its members represent no interest adverse to the Debtor,

Kenneth C. Tebbs, or the estate and its creditors, insofar as I have been able to ascertain, in

matters upon which the firm is to be engaged and has no disqualifying connection with the

Debtor, its creditors, or any other party in interest, their respective attorneys, accountants or

auditors

        10.    Accordingly, I believe that Perl & Goodsnyder is “disinterested” within the

meaning of Section 10104) of the Bankruptcy Code.

                                   SIGNATURE PAGE TO FOLLOW
  Case 08-20546        Doc 364      Filed 10/22/13 Entered 10/22/13 10:41:42   Desc Main
                                     Document     Page 4 of 4




                                            Allen R. Pei

Sworn and subscribed to before me on this


My Commission Expire,s:
             Ob(0511i0
                                                        i{t1. Pczrnc 5f.
                                            Resit
                                                                rL..



    I
    I cHRJSTOPHERMGOcDsNy
        NOTARY PSJC STATE OP w40w
                   -

         NY fl#ASSION DWflSteane
